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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 HUI HO<OMALU KA<AINA, ET AL., )       CIVIL NO. 17-00423 ACK-RLP
                               )
                 Plaintiffs,   )       ORDER GRANTING THE APPLICATION
                               )       OF ELLA FOLEY GANNON TO APPEAR
      vs.                      )       PRO HAC VICE
                               )
 HAWAII DEPARTMENT OF          )
 TRANSPORTATION,               )
                               )
                 Defendant.    )
 _____________________________ )

                    ORDER GRANTING THE APPLICATION OF
                ELLA FOLEY GANNON TO APPEAR PRO HAC VICE

             The Court having reviewed the Application of Ella Foley

 Gannon to Appear Pro Hac Vice and the Declaration of Counsel in

 support thereof, and good cause appearing therefore, IT IS

 ORDERED that said Application is GRANTED.         Ella Foley Gannon is

 permitted to appear pro hac vice for Defendant and participate in

 this action subject to the conditions of Rule 83.1(e) of the

 Local Rules of Practice for the United States District Court for

 the District of Hawaii.

             IT IS SO ORDERED.

             DATED AT HONOLULU, HAWAII, SEPTEMBER 11, 2017.




                                    _____________________________
                                    Richard L. Puglisi
                                    United States Magistrate Judge
